Case 2:21-cv-01001-JS-AKT Document 10 Filed 04/06/21 Page 1 of 1 PageID #: 31




BARSHAY SANDERS, PLLC
100 Garden City Plaza, Suite 500
Garden City, NY 11530
Tel: (516) 203-7600
Our File No: 121627
Attorneys for Plaintiff

                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

 Ellen Blonder,
                                                         Case No: 2:21-cv-01001-JS-AKT
                        Plaintiff,

                v.

 Alliant Capital Management LLC,

                       Defendant.


                          NOTICE OF VOLUNTARY DISMISSAL
                           PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the plaintiff

and/or plaintiff's counsel, hereby give notice that whereas no party is an infant or incompetent

the above-captioned action is voluntarily dismissed with prejudice.


Dated: April 5, 2021

                                             BARSHAY SANDERS, PLLC

                                             By:     /s Craig B. Sanders
                                             Craig B. Sanders
                                             100 Garden City Plaza, Suite 500
                                             Garden City, New York 11530
                                             Email: csanders@barshaysanders.com
                                             Tel: (516) 203-7600
                                             Fax: (516) 282-7878
                                             Our File No: 121627
                                             Attorneys for Plaintiff

The Clerk of Court is directed to close this case.
SO ORDERED this 6th day of April 2021 at Central Islip, New York.

                                              /s/ JOANNA SEYBERT
                                              U.S. District Judge, EDNY
